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UNITED STATES DISTRICT COURT USDC SDNY

SOUTHERN DISTRICT OF NEW YORK DOCUMENT

DEBORAH BROWN, MARIE GIORDANO ELECTRONICALLY FILED
JESSICA CARDE-HARTMAN, DARLENE DOC #:

BOBCZYK. GWENDOLYN SIMMONS. DATE FILED: _ 6/6/2023
MARI MILLER, APRIL ZACARIAS, BUFFY
MARIE INGLE, and CHRISTINA
CHADWELL, and DEENA SCANDORE,
individually and on behalf of all others
similarly situated,

Plaintiffs,
-against- 22 Civ. 2696 (AT)

COTY, INC, ORDER

Defendant.
ANALISA TORRES, District Judge:

The Court has reviewed the parties’ letters dated May 26 and June 5, 2023. ECF Nos. 72,
75. Defendant requests leave to file a motion to dismiss the amended complaint, ECF No. 64,
and proposes a briefing schedule. ECF No. 72 at 1, 3. In their response to Defendant’s request,
Plaintiffs state that they do not oppose Defendant’s proposed briefing schedule. ECF No. 75 at
4. Accordingly:

Defendant’s request to file a motion to dismiss is GRANTED;
By July 11, 2023, Defendant shall file its motion to dismiss;

By August 15, 2023, Plaintiffs shall file their opposition papers;
By September 15, 2023, Defendant shall file its reply, if any.

PWN PE

SO ORDERED.

Dated: June 6, 2023
New York, New York

On-

ANALISA TORRES
United States District Judge

